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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                             :    CHAPTER 7
                                                   :
ASCENSION AIR MANAGEMENT, INC,                     :    CASE NO. 20-62473-PMB
                                                   :
         Debtor.                                   :
                                                   :

         TRUSTEE’S APPLICATION FOR APPOINTMENT OF ACCOUNTANTS

         COMES NOW S. Gregory Hays, as Chapter 7 Trustee (“Trustee” or “Applicant”) in the

bankruptcy case of Ascension Air Management, Inc. (“Debtor”), and respectfully represents as

follows:

                                                   1.

         Debtor initiated this case by filing a voluntary petition for relief under Chapter 7 of Title

11 of the United States Code (the “Bankruptcy Code”) on February 10, 2020.

                                                   2.

         Applicant was thereafter appointed and remains the duly acting Chapter 7 trustee in this

case.

                                                   3.

                To administer this case in a proper, efficient, and economical manner, Trustee

shows that it is necessary to retain accountants to render the following services:

            a. To analyze estate transactions and prepare and file any and all tax returns which

                may be required;

            b. To provide accounting and other financial services to Trustee as needed in the

                evaluation of the transactions and assets of the bankruptcy estate;
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           c. To perform any other services that may be required as accountants to Applicant to

               assist Applicant in the performance of Applicant's duties and exercise of

               Applicant's rights and powers under the Bankruptcy Code.

                                                   4.

       Trustee wishes to employ Hays Financial Consulting, LLC (“HFC”), 2964 Peachtree

Road NW, Suite 555, Atlanta, Georgia 30305, (404)-926-0060, as Trustee’s accountants herein.

Trustee shows that the employees employed by HFC have knowledge and experience with

regard to the matters for which HFC is to be engaged and are well qualified to represent Trustee.

Attached hereto as Exhibit "A" is a Firm Profile describing HFC and listing the HFC’s current

fee schedule. Attached as Exhibit “B” is the Rule 2014 Verification of Hays Financial

Consulting, LLC.

                                                   5.

       To the best of Trustee’s knowledge, and except as otherwise disclosed herein and in the

Bankruptcy Rule 2014 Verification, HFC represents no interest adverse to Debtor, Trustee,

creditors, any other party in interest, their respective attorneys, and accountants, the United

States Trustee, or any person employed in the office of the United States Trustee, or the estate, in

the matter for which HFC is to be engaged. HFC is disinterested under 11 U.S.C. § 101(14),

with regard to the matters upon which it is to be engaged, and HFC’s employment is in the best

interests of this estate, Debtor, Trustee, creditors and other parties in interest. Disclosure is made,

however, that S. Gregory Hays, the managing principal of HFC, has been appointed by the

United States Trustee for Region 21 to act as a panel trustee in the United States Bankruptcy

Court, Northern District of Georgia, Atlanta Division. As a result, employees of HFC have

regular contacts with employees of the Office of the United States Trustee. In addition, HFC is
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employed by S. Gregory Hays in his role as Chapter 7 and 11 Trustee in various other cases in

which he serves as the Chapter 7 or Chapter 11 Trustee.

                                                 6.

       To expedite the administration of the bankruptcy estate, HFC has already performed

certain accounting services for the bankruptcy estate or plans to perform such services, which

may be rendered prior to the signing of any order resulting from this Application.

                                                 7.

       Applicant proposes that said firm be compensated for its services in accordance with

future orders of the Court based upon the criteria for professional compensation required by

bankruptcy law. No compensation will be paid by Applicant to said firm except upon application

to and approval by the Court after notice and hearing as required by law.

       WHEREFORE, Applicant prays for authority to retain and employ Hays Financial

Consulting, LLC to provide accounting and advisory services to Trustee for the purposes

specified hereinabove and that such authorization continue if said firm should assist any

successor Trustee.

       Respectfully submitted this 30th day of March, 2021.


                                                      /s/ S. Gregory Hays
                                                      S. Gregory Hays
                                                      Chapter 7 Trustee
Hays Financial Consulting, LLC
2964 Peachtree Rd, NW, Suite 555
Atlanta, GA 30305
(404) 926-0060
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                                            Exhibit “A”

                           HAYS FINANCIAL CONSULTING, LLC
                                2964 Peachtree Road, NW, Ste 555
                                       Atlanta, GA 30305
                                         (404) 926-0060
                                     www.hayconsulting.net

Profile of Hays Financial Consulting, LLC

Hays Financial Consulting, LLC (“HFC”) is a corporate financial consulting and accounting firm
that specializes in bankruptcy and receivership management, asset recovery, forensic accounting,
and litigation support. The firm or its Managing Principal, S. Gregory Hays, has been active in
bankruptcy, receivership, and litigation cases for twenty years. The firm includes a team of
professionals in finance, accounting, tax, operations, technology, asset recovery, and human
resources to provide a wide array of professional services in bankruptcy, receiver, and litigation
cases. Following are brief summaries of the firm’s key practice areas:
Fiduciary Services
HFC and its principal officers serve in a fiduciary capacity as trustee, receiver, assignee, examiner,
disbursing agent, or liquidating agent. Mr. Hays serves as a Chapter 11 trustee and was appointed
by the United States Trustee to serve as a Chapter 7 panel trustee. Mr. Hays or the firm have served
as a fiduciary in United States District Court, United States Bankruptcy Court, and State Courts.
The firm has been appointed in Georgia, Texas, South Carolina, Alabama, Florida, New York, and
California.
Bankruptcy and Receiver Financial Services
The firm has extensive experience in all phases of bankruptcy and receivership management,
administration, and accounting. Consultants provide interim management and serve as CEO or CRO
so that quick and effective results may be obtained. Financial consultants and accountants are
placed on the debtor’s premises to administer the estate. Consultants take control of a debtor, secure
the assets and records, and provide management services during the period of reorganization or
liquidation. Financial Consultants and accountants also assist debtors in possession with financial
reporting and operations and/or provide advice to committees, trustees, or receivers.
Accounting Services
HFC has accountants that provide a wide array of accounting services in insolvency cases. The firm
has CPAs and support staff to undertake accounting functions including preparation of accounting
reports, maintaining books and records of debtor entities, investigating accounting records, and
preparing accounting reports for the court.
Forensic Accounting
HFC has extensive experience in investigating and recovering funds from fraudulent activity.
Financial consultants investigate fraud through various techniques including funds tracing and
asset searches. Documents and records are researched using both internal and external sources to
unravel the fraud. Once the fraud is identified, accountant and financial consultants work closely
with legal counsel and provide litigation support and recover assets.
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Tax Return Preparation
The firm provides corporate tax preparation services and specializes in filing applications to recover
taxes for bankrupt or insolvent entities. The firm prepares the current year returns, completes the
carryback claims, examines state and local taxes for potential refunds, analyzes sales taxes, and
calculates the refund for sales taxes due to bad debt write-offs.
Litigation Support / Expert Witness
The firm provides litigation support services and is involved in investigating all aspects of the
pending litigation. The firm provides assistance to counsel in discovery including preparation of
schedules for document production and assistance in preparing interrogatories and review of
documents. The firm researches claims, investigates issues, attends depositions, develops strategies,
prepares analyses, and interviews witnesses.
Asset Recovery and Collection Services
The firm has an asset recovery and collection department that specializes in identifying and
recovering assets. The firm uses a variety of methods to identify hidden assets including computer
searches and other asset tracing methodologies. In addition, the firm has an accounts receivable
collection group and is engaged as collection agent to fiduciaries or employed directly by financial
institutions. The group is available to work on a contingency basis or will manage accounts
receivable functions on an hourly basis. When deemed appropriate, the firm engages and manages
external collection agencies and collection attorneys.
Asset Disposition Services
The firm is experienced in liquidating a wide variety of assets and employs auctioneers, real
estate brokers, and other liquidation professionals as deemed appropriate. Consultants investigate
the value of assets and arrange for appropriate means to liquidate the assets.
Employee Benefits Plan Termination Services
The firm has a Human Resources department to resolve employee matters and efficiently
terminate employee benefits plans, prepare employee tax returns, and resolve employee issues.
Representative Bankruptcy and Receiver Cases

HFC has served as Accountant to Trustee, Accountant and Financial Consultant to Receiver,
Financial Advisor to Debtor, Financial Advisor to Committee and Receiver for a wide variety of
insolvent businesses. HFC has held a leading accounting and financial management role in the
cases listed below:
Bankruptcy Cases
HP Superior – Accountant to Trustee for healthcare facility.
The Money Tree, Inc. – Accountant to Trustee for consumer finance company.
Scovill, Inc. – Accountant to Trustee for manufacturing company.
DBSI, Inc. – Financial Advisor to the Examiner for real estate ownership and management.
Nice Financial – Accountant to Examiner for payday lender.
Nukote International, Inc. – Financial Advisor to Committee for printing company.
Catalyst Natural Gas, LLC – Accountants to the Trustee for natural gas distribution company.
Powder Coating, Inc. – Accountant to the Trustee for manufacturing company.
Georgia Floors, Inc. – Accountants to Trustee for a flooring installer.
Westminster Ceramics – Financial Advisor to Debtor for $60 million tile manufacturer.
Atlantis Plastics – Financial Advisor to Debtor for plastics manufacturing company.
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Verso Technologies – Financial Advisor to Committee for public technology company.
C.M. Vaughn, LLC – Accountants to Trustee for $13 million securities fraud.
Cornerstone Ministries – Financial Advisor to Committee for $180 million real estate fund.
VyTech Industries, Inc. – Accountant to Trustee for RV materials manufacturing company.
Aerosol Packaging, LLC – Financial Advisor to Unsecured Creditors for packaging company.
Fibrex Cordage, LLC – Liquidating Director for a manufacturer of cordage products.
FirstLine Corporation – Financial Advisor to Unsecured Creditors for a manufacturing co.
Brookstone Fine Wood Products – Accountant to Trustee for a home product supply company.
Maxxis Group, Inc. – Accountant to Trustee for a telephone and dietary supplement supplier.
Allied Holdings, Inc. –Administrative Compliance Consultants for vehicle transport company.
Bramlett Plumbing, Inc. – Turnaround Consultants for a plumbing supply company.
Aero Plastics, Inc. – CEO for a plastics manufacturing company with sales of $60 million.
Apyron Technologies, Inc. – Accountant to Trustee for a materials science company.
Galey & Lord, Inc. et al – Accountant to Trustee for a manufacturer of textiles for sportswear.
Battle Builders, Inc. et al. – Accountant to Trustee for a developer of residential homes.
Retailer Z, LLC – Accountant to Trustee for a retail chain of textile stores.
PNI Technologies, Inc. – Accountant to Trustee for a paging business.
Integra Holdings – Accountant to Trustee a holding company with over $7 million in claims.
Stewart Finance Company – Accountant to Trustee for an operating finance company.
Eriah Farms – Accountant to Trustee for a 6,000-acre peanut and cotton farming operation.
Specialty Equipment Rental, Inc. – Accountant to Trustee for a heavy equipment rental co.
Eagle Acquisition Corp. – Collection Agent for Secured Creditor.
Custom Insurance Services, Inc. – Accountant to Trustee for $20 million insurance agency.
IMS Group, Inc. – Accountant to Trustee for a motor distributor with $25 million in sales.
QOS Networks, Inc. – Accountant to Trustee for a global networking company.
Associated Distributors, Inc. – Accountant to Trustee a building materials retailer.
McLain Building Materials, Inc. – Accountant to Trustee for a building materials retailer.
Film Fabricators, Inc. – Accountant to Trustee for a plastics manufacturing company.
Leisure Time Casinos & Resorts – Accountant to Trustee for a gaming equipment company.


Receivership, Special Master, Assignment & Other Cases
Laptop & Desktop Repair, LLC – Receiver for electronics reseller.
Lighthouse Financial Partners, LLC – Accountant and Consultant to Receiver.
SJK Investment Management – Financial Consultant to Receiver for $80 million hedge fund.
The EPI Companies, LLC – Accountant and Financial Consultant to commercial printing.
Echelon Development Company, LLC – Receiver for real estate development and golf course.
Atlanta Hyundai – Receiver for a used car dealership.
Nationwide Furniture – Receiver for a furniture retailer in Georgia.
LaTour Partners – Receiver for a condominium conversion project in Georgia.
Bonaparte Partners – Receiver for a condominium conversion project in Florida.
Parish Economics – Financial Consultant to Receiver in a $130 million securities fraud.
AppForge, Inc – Assignee in intellectual property for software company.
Cornerstone Capital Management, LLC – Financial Consultant to Receiver in fraud case.
Pinnacle Development Partners, LLC – Financial Consultant in a $62 securities offering.
Travis Correll et al – Accountant and Consultant to Receiver in $400 million fraud case.
Lake Dow Capital, LLC – Accountant and Financial Consultant to $25 million hedge fund.
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Mobile Billboards of America et al. – Accountant and Financial Consultant to Receiver.
J. Scott Eskind – Accountant and Consultant to Special Master for securities fraud case.

Memberships in Professional Associations
Consultants in the firm are members of the following professional organizations:

American Bankruptcy Institute
American Institute of Certified Public Accountants
Association of Insolvency & Restructuring Advisors
Georgia Society of Certified Public Accountants
National Association of Bankruptcy Trustees
National Association of Federal Equity Receivers
Turnaround Management Association
Billing Information
The firm charges reasonable hourly fees taking into account the time and value of services
rendered. The firm maintains detailed descriptions and time is recorded in tenths of hours. The
hourly rates of the firm’s professionals by position are as follows:

      Managing Principal & Director                    $300.00-$400.00
      Director                                         $200.00-$300.00
      Manager                                          $150.00-$225.00
      Associates / Senior Associate                    $100.00-$175.00


Hourly fees are subject to annual adjustment in accordance with economic conditions. The firm
may employ additional consultants or associates whose hourly rates will be determined in
accordance with their qualifications. Travel time is billed is billed at one-half of the firm’s
standard hourly rates.
Expense Description

Out-of-pocket expenses incurred in connection with the provision of consulting services are charged
to the client for reimbursement of the amount expended. These charges typically include: parking
costs, record search fees by independent services, copy services, travel expenses, courier charges,
overnight charges, and postage. The firm also charges for the following:

       Photocopies – billed at $0.15 per page
       Travel – billed at 2021 IRS rate of $0.56 per mile
       Postage – billed at actual cost
       On Line Research – billed at actual cost
       Tax licensing/filing fees, billed at actual cost
Additional Information
Additional information on the cases listed above and copies of key documents are available on
the Hays Financial Consulting, LLC web site at www.haysconsuting.net.
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                                            Exhibit “B”

     RULE 2014 VERIFICATION OF HAYS FINANCIAL CONSULTING, LLC
    WITH REGARD TO EMPLOYMENT AS ACCOUNTANTS TO THE TRUSTEE

       I, S. Gregory Hays, hereby declare under penalty of perjury:

        1.      I am a managing principal of Hays Financial Consulting, LLC (the “HFC”),
which maintains offices at 2964 Peachtree Road NW, Suite 555, Atlanta, Georgia 30305. I make
this affidavit in support of the Application for Approval of Employment of Hays Financial
Consulting, LLC, as Accountants to the Trustee.

        2.      To the best of HFC’s information and belief, HFC and its employees have no
connections or represent no interest adverse to Ascension Air Management, Inc. (“Debtor”),
Trustee, creditors, any other party in interest, their respective attorneys, and accountants, the
United States Trustee, or any person employed in the office of the United States Trustee, or the
estate, in the matter for which HFC is to be engaged. HFC is disinterested under 11 U.S.C. §
101(14), with regard to the matters upon which it is to be engaged, and HFC’s employment is in
the best interests of this estate, Debtor, Trustee, creditors and other parties in interest. Disclosure
is made, however, that S. Gregory Hays, the managing principal of HFC, has been appointed by
the United States Trustee for Region 21 to act as a panel trustee in the United States Bankruptcy
Court, Northern District of Georgia, Atlanta Division. As a result, employees of HFC have
regular contacts with employees of the Office of the United States Trustee. In addition, HFC is
employed by S. Gregory Hays in his role as Chapter 7 and 11 Trustee in various other cases in
which he serves as the Chapter 7 or Chapter 11 Trustee.

       3.     HFC has made a reasonable effort to discover the possibility of conflicts as
described above. If HFC discovers any information that is contrary to or supplemental to
statements made herein, HFC will promptly disclose such information to the Court and the U.S.
Trustee.

       4.      HFC is not and was not a creditor, an equity security holder or an insider of
Debtor.

        5.    Accordingly, I believe HFC is a “disinterested person” as that term is defined in
section 101(14), as modified by section 1107(b) of the Bankruptcy Code.

      6.     The foregoing constitutes the statement of HFC pursuant to section 327 of the
Bankruptcy Code and Rule 2014(a) of the Federal Rules of Bankruptcy Procedure.

       This 30th day of March, 2021.

                                                               /s/ S. Gregory Hays
                                                               S. Gregory Hays
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                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day served the foregoing Trustee’s Application for

Appointment of Accountants by depositing in the United States mail a copy of same in a properly

addressed envelope with adequate postage affixed thereon to assure delivery by first class mail to

the following entities at the addresses stated:

               Office of the United States Trustee
               362 Richard B. Russell Building
               75 Ted Turner Drive, SW
               Atlanta, GA 30303

               Michael D. Robl
               Robl Law Group LLC
               Suite 250
               3754 LaVista Road
               Tucker, GA 30084

               Ascension Air Management, Inc
               2447 Field Way NE
               Atlanta, GA 30319

       This 30th day of March, 2021.

                                                     /s/ S. Gregory Hays
                                                     S. Gregory Hays
                                                     Chapter 7 Trustee
